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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 05-cr-241-09-JD

Christopher Knight


                                   O R D E R


        The assented to motion to reschedule jury trial (document no.

180) filed by defendant is granted.

        Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3131(h)(8)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                           /s/ Joseph A. DiClerico, Jr.
                                           Joseph A. DiClerico, Jr.
                                           United States District Judge

Date:     January 18, 2007




cc:     Counsel of Record
        U.S. Marshal
        U.S. Probation
